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               IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                        Plaintiff,

      Vs.                                  No. 10-40009-03-SAC

LORENZO BENTON,

                        Defendant.


                       MEMORANDUM AND ORDER

            The case comes before the court on the defendant’s

unresolved objection to the relevant conduct calculation in the presentence

report (“PSR”). The defendant pleaded guilty to count one of the

indictment that charged him with conspiracy to possess with intent to

distribute 100 kilograms or more of marijuana. The PSR recommends a

base offense level of 28 calculated from the marijuana seized in the traffic

stop on May 24, 2009, and from the cash seized in the traffic stop on

October 16, 2009, and converted to marijuana. After a three-level

acceptance of responsibility reduction, the defendant’s total offense level is

25 with a criminal history category of two for an advisory guideline

sentencing range of 63 to 78 months. Count one carries a mandatory

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minimum sentence of 60 months. The addendum to the PSR sets forth the

defendant’s unresolved objection that the court will rule upon in this order.

            The defendant objects that the PSR erroneously includes the

marijuana equivalence for the cash seized from a vehicle occupied by him

and co-conspirator Frank Lewis during a traffic stop on October 16, 2009.

Generally, cash can be converted to drug quantities and attributed to the

defendant as relevant conduct if “the court finds by a preponderance that

the cash is attributable to drug sales which were part of the same course of

conduct . . . as the conviction count.” United States v. Rios, 22 F.3d 1024,

1027 (10th Cir. 1994). The defendant does not dispute any of the facts

stated in the PSR but challenges only whether they are sufficient to

establish that the cash seized on October 16, 2009, is relevant conduct.

            The defendant argues that the evidence does not link the cash

to the conspiracy. The PSR sets forth that on October 16, 2009, the

defendant Benton and his co-conspirator, Frank Lewis, were stopped in

Missouri along Interstate 70 and found with $269,580 secreted in the side

doors of a Chevrolet Tahoe that had been rented by his co-conspirator

Andrew Rutherford on October 15, 2009. The PSR recounts that there are

records linking Benton’s travel and activities with drug trafficking activities


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since 2008. More importantly, as part of his plea agreement, the defendant

agreed to the following as part of the facts constituting the offense to which

he was pleading guilty:

      The admissions of HUTCHINSON and BELL combined with the
      information developed by the DEA through its follow-up investigation
      of travel, financial, vehicle, and telephone records, and the later
      actions of RUTHERFORD, LEWIS, AND BENTON in August and
      October of 2009 demonstrate that RUTHERFORD, LEWIS,
      BENTON, PEARL, and others known and unknown, were associated
      and acting pursuant to an agreement to possess, transport, and
      distribute marijuana that was ongoing prior to, and continued
      subsequent to HUTCHINSON’s and BELL’s voluntarily involvement
      during approximately the first three months of 2009.

(Dk. 111, p. 15). Thus, as part of his plea, the defendant admitted the

actions in October of 2009, i.e., the traffic stop and discovery of cash, is

evidence demonstrating the conspiratorial agreement. Thus, a

preponderance of evidence establishes that a conspiracy to distribute

marijuana existed between Rutherford, Lewis and Benton continuing

through October of 2009 and that the transportation of the money seized in

October was pursuant to the same conspiracy as evidenced by its similarity

to the conspiracy’s pattern of prior trips between Arizona and Detroit, by

Lewis and Benton operating the vehicle containing such a large amount of

cash, and by Rutherford financing and securing the transportation by

renting the vehicle the day before the stop and seizure. The defendant’s

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objection on this ground is overruled.

            The defendant alternatively argues that the amount of cash

seized in October would match the payment for the weight of marijuana

seized in May. The court is unsure where the defendant intends to go with

this speculation over the connection between the cash and the seized

marijuana. This is plainly not an instance where an estimate of drug

trafficking activities may duplicate or already include the seized physical

evidence. In this instance, the drugs were seized before they could be

sold, so the cash represents proceeds from a source other than the sale of

those drugs. As admitted in his factual basis, the defendant disclaimed

during the traffic stop “any interest in these apparent narcotics proceeds.”

(Dk. 111, p. 14). The court will not sustain the defendant’s objection on the

“mere” conjecture that the cash could have been the conspiracy’s intended

payment for the seized marijuana. The circumstances of the seizure, in

particular its timing and location, make it more likely that the cash was drug

proceeds not directly linked to the marijuana seized five months earlier.

The court overrules the defendant’s objection to the PSR’s calculation of

relevant conduct.

            IT IS THEREFORE ORDERED that the defendant’s unresolved


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objection in the PSR’s addendum is overruled.

           Dated this 25th day of October of 2010, Topeka, Kansas.



                              s/ Sam A. Crow
                              Sam A. Crow, U.S. District Senior Judge




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